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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                     AT PADUCAH

UNITED STATES OF AMERICA

                                                                                      PLAINTIFF

V.                                                                  5:19-cv-93-TBR
                                                   CASE ACTION NO: _____________________
                                                                         Electronically filed
CONTENTS OF REGIONS BANK
ACCOUNT ENDING IN 4528
($91,831.49), HELD IN THE NAME
OF NOAH OLUMIDE OLANREWAJU

                      WARRANT OF ARREST IN REM AND NOTICE


TO:    THE UNITED STATES AND THE UNITED STATES
       MARSHALS SERVICE AND/OR ANY OTHER DULY
       AUTHORIZED LAW ENFORCEMENT OFFICER:


       WHEREAS the United States Attorney for the Western District of Kentucky has filed a

Verified Complaint for Forfeiture In Rem against the above-named defendant property on the

2nd day of July, 2019, alleging that the defendant property is subject to seizure and forfeiture to

the United States pursuant to 18 U.S.C. § 981(a)(1)(C).

       And, the Court being satisfied that,based on the Verified Complaint for Forfeiture In

Rem, there is probable cause to believe that the defendant property so described therein

constitutes property that is subject to forfeiture for such violations, and that grounds for issuance

of a Warrant of Arrest In Rem exist, pursuant to Supplemental Rule G(3) of the Supplemental

Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions (ASupplemental Rules@);

       YOU ARE THEREFORE ORDERED to seize and arrest the defendant property, by

serving a copy of this warrant on the custodian, McCracken County Sheriff’s Office, in whose

possession, custody, or control the property is presently found and to take the defendant property
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into your possession for safe custody, until further order of the Court; and to make your return as

provided by law.

         YOU ARE FURTHER ORDERED to send notice to the record owner and any other

person believed to have a claim to or interest in the defendant property a copy of the Complaint,

Notice of Forfeiture, and this Warrant in a manner consistent with the principles of service of

process of any action in rem under the Supplemental Rules and the Federal Rules of Civil

Procedure, within a reasonable time of seizure, and, to admonish any persons holding a claim to

the defendant property to file their claims with the Clerk of this Court within thirty-five (35) days

after execution of this process, and to serve their answers within twenty-one (21) days after filing

their claims, and finally, that they must serve a copy of any claim and/or pleading upon the

Assistant United States Attorney, Amy M. Sullivan, 717 West Broadway, Louisville, Kentucky

40202.

         YOU ARE FURTHER ORDERED, in the event that the defendant property is not

released within ten (10) days of execution of process, that you shall cause publication of public

notice, as required by Rule G(4) of the Supplemental Rules. Such notice shall be published for

thirty days at www.forfeiture.gov. This notice shall state that anyone claiming an interest in the

defendant property must file: 1) a claim within sixty (60) days from the start of the publication

on the internet at www.forfeiture.gov; and 2) an answer within twenty-one (21) days after filing

a claim.

         IT IS FURTHER ORDERED that, promptly after execution of this process, you shall file

the same in this Court with your return thereon, identifying the individuals upon whom copies

were served and the manner employed.
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Tendered by:
Amy M. Sullivan
Assistant United States Attorney
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Louisville, KY 40202
(502)582-5911
(502)582-5097(fax)
amy.sullivan@usdoj.gov

cc:    United States Attorney (AMS) - two certified copies of order and
       two certified copies of the Verified Complaint
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